

Matter of Anderson (2022 NY Slip Op 04939)





Matter of Anderson


2022 NY Slip Op 04939


Decided on August 11, 2022


Appellate Division, Third Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered:August 11, 2022

PM-148-22
[*1]In the Matter of Terica Nicole Smith Anderson, an Attorney. (Attorney Registration No. 5273644.)

Calendar Date:August 8, 2022

Before:Garry, P.J., Lynch, Clark, Aarons and Fisher, JJ.

Terica Nicole Smith Anderson, Jackson, Tennessee, pro se.
Monica A. Duffy, Attorney Grievance Committee for the Third Judicial Department, Albany, for Attorney Grievance Committee for the Third Judicial Department.



Per Curiam.
Terica Nicole Smith Anderson was admitted to practice by this Court in 2014 and lists a business address in Jackson, Tennessee with the Office of Court Administration. Anderson now seeks leave to resign from the New York bar for nondisciplinary reasons (see  Rules for Attorney Disciplinary Matters [22 NYCRR] § 1240.22 [a]). The Attorney Grievance Committee for the Third Judicial Department (hereinafter AGC) advises that it does not oppose Anderson's application.
Upon reading Anderson's affidavit sworn to June 20, 2022 and filed June 28, 2022, and upon reading the August 3, 2022 correspondence in response by the Chief Attorney for AGC, and having determined that Anderson is eligible to resign for nondisciplinary reasons, we grant her application and accept her resignation.
Garry, P.J., Lynch, Clark, Aarons and Fisher, JJ., concur.
ORDERED that Terica Nicole Smith Anderson's application for permission to resign is granted and her nondisciplinary resignation is accepted; and it is further
ORDERED that Terica Nicole Smith Anderson's name is hereby stricken from the roll of attorneys and counselors-at-law of the State of New York, effective immediately, and until further order of this Court (see generally  Rules for Attorney Disciplinary Matters [22 NYCRR] § 1240.22 [b]); and it is further
ORDERED that Terica Nicole Smith Anderson is commanded to desist and refrain from the practice of law in any form in the State of New York, either as principal or as agent, clerk or employee of another; and Anderson is hereby forbidden to appear as an attorney or counselor-at-law before any court, judge, justice, board, commission or other public authority, or to give to another an opinion as to the law or its application, or any advice in relation thereto, or to hold herself out in any way as an attorney and counselor-at-law in this State; and it is further
ORDERED that Terica Nicole Smith Anderson shall, within 30 days of the date of this decision, surrender to the Office of Court Administration any Attorney Secure Pass issued to her.








